Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 1 of 7 PageID #: 804
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 2 of 7 PageID #: 805
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 3 of 7 PageID #: 806
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 4 of 7 PageID #: 807
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 5 of 7 PageID #: 808
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 6 of 7 PageID #: 809
Case 5:08-cr-50075-TLB Document 225   Filed 08/11/09 Page 7 of 7 PageID #: 810
